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                                    Exhibit A

                       Detailed Statement of Hours and Fees




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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE




IN RE:                                                                                      } CHAPTER 11 CASE
                                                                                            }
Lordstown Motors Corp.                                                                      } Case No. 23-10831
                                                                                            }
                                                                                            }
                                                                                            }

TIME SUMMARY - January 1 to January 31, 2024
                                  Billing                       % of
                                   Rate     Total Billable      Total         $ Amount
            Consultant            Per Hr.      Hours            Time            Time

     Constadinos Tsitsis (CDT)     $525        26.40             7%            $13,860.00                           80%   $11,088.00
         Scott Kohler (SK)         $525         49.60            14%           $26,040.00                           80%   $20,832.00
      Steven Nerger ( SAN )        $350          8.20             2%            $2,870.00                           80%    $2,296.00
          Alex Bauer (AB)          $320          1.00             0%              $320.00                           80%      $256.00
       Ellen Hammes (EH)           $290        124.50            34%           $36,105.00                           80%   $28,884.00
       Alex Crnkovich (AC)         $270        155.00            43%           $41,850.00                           80%   $33,480.00


Total Due - Fees                               364.70           100%          $121,045.00               80%               $96,836.00
Blended Rate                      $331.90
                                                                                                     Expenses
                                                                                                   Administrative              $0.00
                                                                                                      Airfare                  $0.00
                                                                                                       Meals                   $0.00
                                                                                                      Lodging                  $0.00
                                                                                                   Transportation              $0.00

                                                                   Total Expenses                                              $0.00

                                                                            Fees                                          $96,836.00


                                                                Amount Requested                                          $96,836.00




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                                            IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE DISTRICT OF DELAWARE



IN RE:                                                      }   CHAPTER 11 CASE
                                                            }
Lordstown Motors Corp.                                      }   Case No. 23-10831
                                                            }
                                                            }
                                                            }

EXHIBIT B - January 1 TO January 31, 2024       SUMMARY BY PROJECT CATEGORY - In Hours


                        TIME SUMMARY                                                             Consultants


                    Project Category Summary                      CDT           SK       SAN       AB          EH      AC      TOTAL



    1.   Business Analysis and Reports                               6.30         1.20    0.00       0.00      78.90   20.30     106.70

         Preparation of Budgets, Availability Reports,
   1-1   Business Evaluation and Flash Reports                       -            -        -         -           -       -         0.00

   1-2   Preparation of Financial Data to Support Motions           4.00         0.50      -         -           -     20.30      24.80

   1-3   Preparation of Financial Projections                       2.30         0.70      -         -         78.90     -        81.90

   1-4   Plan Development & Strategy                                 -            -        -         -           -       -         0.00

   1-5   Preparation of Plan and Disclosure Statement                -            -        -         -           -       -         0.00




    2.   Business Operations                                         0.50         3.50    0.00       0.00       6.60    7.60      18.20


   2-1   Daily Management and Operations                            0.50         3.50      -         -          6.60    7.60      18.20

   2-2   Reports to / from Parties in Interest                       -            -        -         -           -       -         0.00
         Meetings / communications with lender, lender's
   2-3   agent or its counsel                                        -            -        -         -           -       -         0.00

   2-4   Sale of Company Matters                                     -            -        -         -           -       -         0.00




    3.   Meetings and Communication with Creditors                   1.00         0.00    0.00       0.00       0.80    3.80       5.60


   3-1   341 Creditors Meeting                                       -            -        -         -           -       -         0.00




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                                            IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE DISTRICT OF DELAWARE



IN RE:                                                    }   CHAPTER 11 CASE
                                                          }
Lordstown Motors Corp.                                    }   Case No. 23-10831
                                                          }
                                                          }
                                                          }

EXHIBIT B - January 1 TO January 31, 2024    SUMMARY BY PROJECT CATEGORY - In Hours


                       TIME SUMMARY                                                           Consultants


                    Project Category Summary                    CDT           SK      SAN       AB          EH        AC      TOTAL



   3-2   Meetings/communication with lenders                       -            -       -         -           0.80      -         0.80

   3-3   Creditor communications & negotiations                   1.00          -       -         -            -       3.80       4.80

   3-4                                                             -            -       -         -            -        -         0.00




    4.   Case Administration                                      18.60       44.90    8.20       1.00       38.20   123.30     234.20


   4-1   Travel                                                    -            -       -         -            -        -         0.00

   4-2   Case Administration                                     16.80        44.90     -        1.00        24.80   123.30     210.80

   4-3   Monthly Operating Reports                                 -            -      8.20       -           1.50      -         9.70

   4-4   Bankruptcy Schedules, SOFA and IDI information            -            -       -         -            -        -         0.00

   4-5   Fee Application Preparation                              1.80          -       -         -          11.90      -        13.70




                      TOTAL January, 2024                        26.40        49.60    8.20      1.00       124.50   155.00     364.70




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                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                       FOR THE DISTRICT OF DELAWARE



IN RE:                                                       }    CHAPTER 11 CASE
                                                             }
Lordstown Motors Corp.                                       }    Case No. 23-10831
                                                             }
                                                             }
                                                             }

EXHIBIT B - January 1 to January 31, 2024    SUMMARY BY PROJECT CATEGORY - In Dollars


                         TIME SUMMARY                                                                  Consultants

                                                                     $525        $525        $350        $320          $290        $270
                     Project Category Summary                        CDT          SK         SAN          AB            EH          AC        TOTAL




    1.    Business Analysis and Reports                            $3,307.50     $630.00       $0.00       $0.00     $22,881.00   $5,481.00   $32,299.50

          .. Blended Rate                                                                                                                       $302.71

          Preparation of Budgets, Availability Reports,
   1-1    Business Evaluation and Flash Reports                        $0.00         $0.00     $0.00       $0.00          $0.00      $0.00         $0.00

   1-2    Preparation of Financial Data to Support Motions         $2,100.00     $262.50       $0.00       $0.00          $0.00   $5,481.00    $7,843.50

   1-3    Preparation of Financial Projections                     $1,207.50     $367.50       $0.00       $0.00     $22,881.00      $0.00    $24,456.00

   1-4    Plan Development & Strategy                                  $0.00         $0.00     $0.00       $0.00          $0.00      $0.00         $0.00

   1-5    Preparation of Plan and Disclosure Statement                 $0.00         $0.00     $0.00       $0.00          $0.00      $0.00         $0.00




    2.   Business Operations                                         $262.50    $1,837.50      $0.00       $0.00      $1,914.00   $2,052.00    $6,066.00

          .. Blended Rate                                                                                                                       $333.30


   2-1    Daily Management and Operations                            $262.50    $1,837.50      $0.00       $0.00      $1,914.00   $2,052.00    $6,066.00

   2-2    Reports to / from Parties in Interest                        $0.00         $0.00     $0.00       $0.00          $0.00      $0.00         $0.00
          Meetings / communications with lender, lender's
   2-3    agent or its counsel                                         $0.00         $0.00     $0.00       $0.00          $0.00      $0.00         $0.00

   2-4    Sale of Company matters                                      $0.00         $0.00     $0.00       $0.00          $0.00      $0.00         $0.00




    3.   Meetings and Communication with Creditors                   $525.00         $0.00     $0.00       $0.00       $232.00    $1,026.00    $1,783.00
         .. Blended Rate                                                                                                                         $318.39




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                                             IN THE UNITED STATES BANKRUPTCY COURT
                                                  FOR THE DISTRICT OF DELAWARE



IN RE:                                                   }    CHAPTER 11 CASE
                                                         }
Lordstown Motors Corp.                                   }    Case No. 23-10831
                                                         }
                                                         }
                                                         }

EXHIBIT B - January 1 to January 31, 2024   SUMMARY BY PROJECT CATEGORY - In Dollars


                        TIME SUMMARY                                                                 Consultants

                                                                 $525         $525        $350         $320          $290         $270
                    Project Category Summary                     CDT           SK         SAN           AB            EH           AC         TOTAL



   3-1    341 Creditors Meeting                                    $0.00         $0.00       $0.00       $0.00          $0.00        $0.00         $0.00

   3-2    Meetings/communication with lenders                      $0.00         $0.00       $0.00       $0.00        $232.00        $0.00      $232.00

   3-3    Creditor communications & negotiations                 $525.00         $0.00       $0.00       $0.00          $0.00    $1,026.00     $1,551.00




    4.   Case Administration                                    $9,765.00   $23,572.50   $2,870.00     $320.00     $11,078.00   $33,291.00    $80,896.50

          .. Blended Rate                                                                                                                        $345.42


   4-1    Travel                                                   $0.00         $0.00       $0.00       $0.00          $0.00        $0.00         $0.00

   4-2    Case Administration                                   $8,820.00   $23,572.50       $0.00     $320.00      $7,192.00   $33,291.00    $73,195.50

   4-3    Monthly Operating Reports                                $0.00         $0.00   $2,870.00       $0.00        $435.00        $0.00     $3,305.00

   4-4    Bankruptcy Schedules and SOFA                            $0.00         $0.00       $0.00       $0.00          $0.00        $0.00         $0.00

   4-5    Fee Application Preparation                            $945.00         $0.00       $0.00       $0.00      $3,451.00        $0.00     $4,396.00




                       TOTAL January, 2024                     $13,860.00 $26,040.00     $2,870.00     $320.00     $36,105.00   $41,850.00   $121,045.00


          .. Blended Rate                                                                                                                        $331.90




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 Date      Consultant                          Description                       Billable    No Charge



                        Call with SK, DT, EH and AC to discuss ombudsman
1/2/2024      AB        documentation                                                 1.00               4-2
TUES                                        DAILY TOTALS                             1.00         0.00

                                   WEEKLY TOTAL - ( W/E 1/6/24 )                     1.00        0.00


                                  TOTAL - (January 1 to January 31, 2024 )           1.00        0.00




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 Date      Consultant                               Description                                Billable    No Charge


1/2/2024      AC        ad hoc communication and project administrative task                        0.80               4-2
1/2/2024      AC        Prepaid analysis                                                            1.50               4-2
1/2/2024      AC        Updating Accrual Calculations                                               1.20               1-2
                        Documentation call with C. Tsitsis, S. Kohler, A. Bauer, and E.
1/2/2024      AC        Hammes                                                                      1.00               4-2
                        Updating Communications memo and documentation for
1/2/2024      AC        ombudsman                                                                   2.30               4-2
TUES                                            DAILY TOTALS                                       6.80         0.00

1/3/2024      AC        Documentation of AP Claims for Ombudsman                                    3.00               4-2
1/3/2024      AC        Updating Accrual Memo calculations                                          1.50               1-2
1/3/2024      AC        Call with C. Tsitsis to discuss accrual amount                              0.30               1-2
                        Following up with vendors with open investigations (Tesca, Pierburg,
1/3/2024      AC        Timken, ZF, Harco)                                                          1.00               3-3
1/3/2024      AC        updating reconciliation tracker                                             0.50               4-2
1/3/2024      AC        Call with C. Tsitsis, E, Hammes to discuss Accrual Calculations             0.50               1-2
 WED                                            DAILY TOTALS                                       6.80         0.00

1/4/2024      AC        Prep for Supplier Claims call                                               0.50               4-2
                        Supplier Claims Call - E. Hightower, S. Kohler, M. Port, E. Hammes,
1/4/2024      AC        A. Ciccone                                                                  0.50               4-2
1/4/2024      AC        Accrual memo drafting                                                       1.50               1-2
1/4/2024      AC        Updating demand letter to HUF Baolong                                       0.50               4-2
                        Call with C. Tsitsis, E. Hammes, and S. Kohler to discuss Waterfall
1/4/2024      AC        Calculations                                                                0.50               1-2
1/4/2024      AC        Call with Ellen to discuss prepaid valuation.                               0.50               4-2
1/4/2024      AC        Call with S. Kohler to discuss prepaids                                     0.20               4-2
1/4/2024      AC        Documentation Review for Ombudsman                                          1.50               4-2
1/4/2024      AC        ad hoc communication and email coordination                                 1.00               4-2
THURS                                           DAILY TOTALS                                       6.70         0.00

1/5/2024      AC        Reviewing Contract history for DS system                                    0.30               4-2
1/5/2024      AC        Updating Ventra Claim                                                       0.50               4-2
1/5/2024      AC        updating accrual memo                                                       0.50               1-2
1/5/2024      AC        ad hoc communication and emails                                             0.30               4-2
  FRI                                           DAILY TOTALS                                       1.60         0.00

                                       WEEKLY TOTAL - ( W/E 1/6/24 )                              21.90        0.00

1/8/2024      AC        Prep for supplier claims call                                               0.50               4-2
                        Supplier Claims Call - C. Tsitsis, E. Hammes, M. Port, A. Kroll, E.
1/8/2024      AC        Hightower                                                                   0.50               4-2
1/8/2024      AC        Call with W&C - A. Kroll, M. Port, M. Leonard, E. Hammes                    0.50               4-2
1/8/2024      AC        Weekly Finance Call - E. Hammes, M. Port, A. Kroll                          1.50               2-1
1/8/2024      AC        Claims Register Reconciliation                                              3.00               4-2
1/8/2024      AC        Call with E. Hammes and C. Tsitsis to discuss latest action items           0.80               4-2



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  Date      Consultant                                Description                                 Billable    No Charge

1/8/2024       AC        Calling Accuris                                                               0.50               4-2
1/8/2024       AC        Talking to C. Tsitsis about Accuris situation                                 0.20               4-2
1/8/2024       AC        Sorting through claim negotiation prioritizations                             0.80               4-2
1/8/2024       AC        ad hoc emails and requests                                                    0.50               4-2
 MON                                              DAILY TOTALS                                        8.80

1/9/2024       AC        Interest bucketing                                                            1.00               1-2
1/9/2024       AC        Waterfall discussion with A. Kroll, D. Ninivaggi, E. Hammes                   0.80               1-2
1/9/2024       AC        Updating Prepaid Analysis for Dan and Ed                                      0.90               4-2
1/9/2024       AC        Waterfall call with Huron (A. Kroll, E. Hammes)                               1.00               1-2
1/9/2024       AC        Calls with E. Hammes to discuss waterfall updates                             0.60               1-2
1/9/2024       AC        Sending emails to Huron about withdrawn claims                                0.80               4-2
1/9/2024       AC        Reviewing objection motion detail                                             1.40               1-2
1/9/2024       AC        Updating Interest rate masterfile                                             1.00               1-2
1/9/2024       AC        Meeting with C. Tsitsis to discuss interest rate buckets                      0.50               1-2
1/9/2024       AC        Ad hoc emails and requests                                                    1.00               4-2
 TUES                                             DAILY TOTALS                                        9.00         0.00

1/10/2024      AC        Interest rate bucket analysis                                                 0.30               1-2
1/10/2024      AC        Emailing vendors on claims related matters                                    0.30               3-3
1/10/2024      AC        Prepaid analysis and documentation                                            0.80               4-2
1/10/2024      AC        contract rejection and interest rate analysis                                 2.80               1-2
1/10/2024      AC        Weekly Finance call - A. Kroll, M. Port, E. Hammes, C. Tsitsis                1.30               2-1
                         Calls with C. Tsitsis to discuss various items on interests and action
1/10/2024      AC        items and objection motion                                                    1.00               1-2
1/10/2024      AC        Review of objection motion                                                    0.90               1-2
1/10/2024      AC        Interest rate bucket analysis                                                 0.30               1-2
                         Sending updated GUC analysis to M3 and related call with E.
1/10/2024      AC        Hammes                                                                        0.30               4-2
1/10/2024      AC        Vendor Call Preparation                                                       0.30               4-2
1/10/2024      AC        Admin and ad hoc work                                                         1.30               4-2
 WED                                              DAILY TOTALS                                        9.60         0.00

                         Supplier Claims Call (E. Hightower, A. Kroll, M. Leonard, C. Tsitsis,
1/11/2024      AC        E. Hammes, M. Port)                                                           0.50               4-2
1/11/2024      AC        Prepaid Analysis for E. Hightower                                             1.00               4-2
                         Catch-up call with White and Case (E. Hammes, M. Port, A. Kroll,
1/11/2024      AC        M. Leonard)                                                                   0.50               4-2
1/11/2024      AC        Prepaid and Claims analysis and vendor calls                                  4.00               4-2
1/11/2024      AC        Call with C. Tsitsis to discuss claims reconciliations.                       0.30               4-2
1/11/2024      AC        Interest rate bucket analysis                                                 0.50               1-2
1/11/2024      AC        ad hoc communications and work                                                1.50               4-2
 THUR                                             DAILY TOTALS                                        8.30         0.00

1/12/2024      AC        revising memo to ombudsman                                                    1.30               4-2
1/12/2024      AC        Editing interest rate buckets rules                                           0.70               1-2
1/12/2024      AC        Reaching out to vendors for claim reconciliation                              2.00               3-3



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  Date      Consultant                              Description                                Billable    No Charge

1/12/2024      AC        conducting analysis for prepaids                                           1.00               4-2
1/12/2024      AC        Responding to requests from Meta systems on old invoices                   0.50               4-2
1/12/2024      AC        ad hoc requests and communication                                          1.00               4-2
  FRI                                             DAILY TOTALS                                     6.50         0.00

                                       WEEKLY TOTAL - ( W/E 1/13/24 )                            42.20         0.00

1/15/2024      AC        Vendor claim reconciliation                                                2.50               4-2
1/15/2024      AC        review of memo for ombudsman                                               0.80               4-2
1/15/2024      AC        Call with E. Hammes and S. Kohler to discuss Prepaid analysis              0.80               4-2
1/15/2024      AC        Prepaid analysis for Huf and Artiflex                                      2.00               4-2
1/15/2024      AC        ad hoc communication and emails response                                   0.50               4-2
 MON                                              DAILY TOTALS                                     6.60         0.00

1/16/2024      AC        vendor reconciliation                                                      3.80               4-2
1/16/2024      AC        interest rate file updates                                                 0.30               1-2
1/16/2024      AC        Call with Cognizant (C. Tsitsis)                                           0.50               4-2
1/16/2024      AC        Cognizant call documentation                                               0.50               4-2
1/16/2024      AC        Ombudsman memo documentation                                               1.00               4-2
1/16/2024      AC        Call with Optessa (C. Tsitsis)                                             0.80               4-2
1/16/2024      AC        Prep for supplier claims call                                              0.50               4-2
 TUES                                             DAILY TOTALS                                     7.40         0.00

                         Supplier Claims call - M. Port, E. Hammes, A. Kroll, S. Kohler, C.
1/17/2024      AC        Tsitsis, E. Hightower, M. Leonard                                          1.00               4-2
1/17/2024      AC        Supplier claims call follow-ups on prepaids and vendors                    5.30               4-2
                         LMC catch-up call with White and Case (A. Kroll, M. Port, E.
1/17/2024      AC        Hammes, M. Leonard, S. Kohler)                                             0.20               4-2
1/17/2024      AC        LMC Finance Call (M. Port, A. Kroll, S. Kohler, E. Hammes)                 1.00               2-1
 WED                                              DAILY TOTALS                                     7.50         0.00

1/18/2024      AC        Call with Greatech (C. Tsitsis)                                            0.50               4-2
1/18/2024      AC        Optessa settlement follow-up                                               0.40               4-2
1/18/2024      AC        Vendor Reconciliation                                                      5.30               4-2
1/18/2024      AC        Call with E. Hightower and M. Leonard to discuss Timken                    0.50               4-2
1/18/2024      AC        Looking at Ohio Tax Claim                                                  0.50               4-2
1/18/2024      AC        Ad hoc Communication and emails                                            0.90               4-2
1/18/2024      AC        GAC lease analysis                                                         0.40               4-2
 THUR                                             DAILY TOTALS                                     8.50         0.00

1/19/2024      AC        Vendor Reconciliation                                                      1.00               4-2
  FRI                                             DAILY TOTALS                                     1.00         0.00

                                       WEEKLY TOTAL - ( W/E 1/20/24 )                             31.00        0.00

1/22/2024      AC        Greatech Claims analysis                                                   2.00               4-2


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  Date      Consultant                               Description                                   Billable    No Charge

1/22/2024      AC        Monday finance call - E. Hammes, M. Port, S. Kohler, A. Kroll                  1.50               2-1
1/22/2024      AC        Vendor claims reconciliations                                                  3.00               4-2
1/22/2024      AC        Call with M. Leonard and A. Kroll to discuss lease deposits                    0.50               4-2
1/22/2024      AC        Harco Claims analysis                                                          1.80               4-2
 MON                                              DAILY TOTALS                                         8.80         0.00

1/23/2024      AC        Ad hoc administrative work and communications                                  0.80               4-2
                         Vendor Claim Reconciliation and analysis (Greatech, Optessa, Sharp,
1/23/2024      AC        Laval, Cognizant, HUF, ZF, Harco, Timken)                                      6.00               4-2
1/23/2024      AC        Call with E. Hightower and C. Tsitsis to discuss Timken analysis               0.20               4-2
1/23/2024      AC        Call with C. Tsitsis and Timken legal team to discuss their claim              0.50               4-2
1/23/2024      AC        Preparation for supplier claims call                                           0.20               4-2
 TUES                                             DAILY TOTALS                                         7.70         0.00

                         Supplier Claims call - C. Tsitsis, S. Kohler, E. Hammes, M. Leonard,
1/24/2024      AC        A. Kroll, M. Port, E. Hightower                                                1.00               4-2
1/24/2024      AC        Vendor reconciliation                                                          5.20               4-2
1/24/2024      AC        W&C call (M. Port, A. Kroll, M. Leonard, E. Hammes,)                           0.50               4-2
1/24/2024      AC        Call with Ed to discuss ZF                                                     0.50               4-2
                         Wednesday Finance Meeting (A. Kroll, M. Port, S. Kohler, E.
1/24/2024      AC        Hammes)                                                                        1.30               2-1
1/24/2024      AC        Call with Dino to discuss Claims status                                        0.50               4-2
                         Call with E. Hammes, S. Kohler, C. Tsitsis to discuss confirmation
1/24/2024      AC        checklist                                                                      0.50               4-2
 WED                                              DAILY TOTALS                                         9.50         0.00

                         Discussion with E. Hightower and former engineers on ZF tooling
1/25/2024      AC        Claim                                                                          0.50               4-2
                         Preliminary meeting with the ombudsman (C. Tsitsis, M. Port, E.
1/25/2024      AC        Hammes, A. Kroll, A. Ciccone)                                                  0.80               4-2

1/25/2024      AC        Call with M. Port and A. Ciccone to discuss legal file saving structure        0.50               4-2
1/25/2024      AC        Call with Scott Sabin to discuss sharp claim                                   0.50               4-2
                         Vendor claim reconciliation documentations for Sharp, Harco, ZF,
1/25/2024      AC        Cognizant, HUF, Johnson controls, and Optessa,                                 5.40               4-2
1/25/2024      AC        Updating Claim reconciliation walk from M3                                     0.50               4-2
1/25/2024      AC        Ad hoc communication and correspondence                                        0.40               4-2
 THUR                                             DAILY TOTALS                                         8.60         0.00

1/26/2024      AC        Updating Waterfall With Ellen                                                  0.30               1-2
1/26/2024      AC        call with A. Kroll and C. Tsitsis to discuss Harco analysis                    0.50               4-2
1/26/2024      AC        Updating Ombudsman memo                                                        0.50               4-2
                         Vendor reconciliation and documentation (Harco, ZF, Cognizant,
1/26/2024      AC        HUF, Laval)                                                                    3.50               4-2
1/26/2024      AC        Miscellaneous Admin and communication                                          0.30               4-2
  FRI                                             DAILY TOTALS                                         5.10         0.00




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  Date      Consultant                               Description                                Billable    No Charge

                                       WEEKLY TOTAL - ( W/E 1/27/24 )                             39.70         0.00


1/29/2024      AC        Monday Finance meeting - E. Hammes, M. Port, A. Kroll, S. Kohler            1.00               2-1
1/29/2024      AC        Vendor Reconciliations - HUF, Greatech, Timken                              1.50               4-2
1/29/2024      AC        Updating ombudsman memo                                                     0.50               4-2
1/29/2024      AC        Checking and reconciling against latest claims register                     2.30               4-2
                         Discussing with M. Leonard the latest information on the GAC
1/29/2024      AC        claims                                                                      0.50               4-2
1/29/2024      AC        ad hoc emails and communication                                             1.00               4-2
 MON                                             DAILY TOTALS                                       6.80         0.00

                         LMC waterfall review with M3 and E. Hammes, C. Tsitsis, and A.
1/30/2024      AC        Kroll                                                                       0.90               1-2
1/30/2024      AC        Meeting with Harco to discuss claims. Included C. Tsitsis                   0.50               3-3
1/30/2024      AC        Updating responses to Huron on certain reconciliation items                 2.00               4-2
1/30/2024      AC        Vendor reconciliations for Greatech and ZF                                  1.00               4-2
1/30/2024      AC        Call with C. Tsitsis to discuss Foxconn claims                              0.50               4-2
1/30/2024      AC        Harco meeting follow-ups                                                    0.60               4-2
1/30/2024      AC        ad hoc communication and other items                                        1.00               4-2
 TUES                                            DAILY TOTALS                                       6.50         0.00

                         Supplier Claims update call - E. Hightower, A. Kroll, C. Tsitsis, S.
1/31/2024      AC        Kohler, E. Hammes, M. Leonard                                               1.00               4-2
1/31/2024      AC        Call with ZF to discuss their claims (S. Kohler and M. Leonard)             0.50               4-2
                         LMC catch-up call with W&C (A. Kroll, M. Port, M. Leonard, E.
1/31/2024      AC        Hammes)                                                                     0.50               4-2
1/31/2024      AC        ZF Summary emails                                                           0.40               4-2
                         Vendor claims reconciliations for SA, Timken, Optessa, Cognizant,
1/31/2024      AC        Johnson controls, Laval, Harco, Tesca                                       3.50               4-2
1/31/2024      AC        sending emails on latest Foxconn claim                                      0.30               4-2
1/31/2024      AC        HUF Prepaid analysis                                                        0.30               4-2
1/31/2024      AC        ad hoc communication and tasks                                              0.40               4-2
 WED                                             DAILY TOTALS                                       6.90         0.00

                                       WEEKLY TOTAL - ( W/E 1/31/24 )                             20.20         0.00


                                      TOTAL - (January 1 to January 31, 2024 )                   155.00         0.00




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  Date      Consultant                               Description                                    Billable    No Charge


                         Review draft documents from A. Crnkovich for transition to
1/2/2024       CDT       ombudsman.                                                                      0.50               4-2
                         Review all files with Silverman team for transfer to ombudsman;
1/2/2024       CDT       organize as necessary and discuss changes to memorandum.                        1.00               4-2
 TUES                                             DAILY TOTALS                                          1.50         0.00

1/3/2024       CDT       Call w/ A. Crnkovich re: quarterly accrual.                                     0.30               1-2
                         Call w/ A. Crnkovich and E. Hammes re: quarterly accrual and
1/3/2024       CDT       waterfall.                                                                      0.50               1-2
 WED                                              DAILY TOTALS                                          0.80         0.00

1/4/2024       CDT       Review cash flow and waterfall w/ Silverman team                                0.50               1-3
 THUR                                             DAILY TOTALS                                          0.50         0.00

1/5/2024       CDT       Review accrual memo and send comments to A. Crnkovich                           0.50               1-2
1/5/2024       CDT       Read and reply to various emails.                                               0.50               4-2
  FRI                                             DAILY TOTALS                                          1.00         0.00

                                        WEEKLY TOTAL - ( W/E 1/6/24 )                                   3.80        0.00

1/8/2024       CDT       Supplier claims call.                                                           0.50               4-2
                         Review claims reconciliation and review of additional requests from
1/8/2024       CDT       A. Kroll w/ A. Crnkovich and E. Hammes.                                         0.80               4-2
1/8/2024       CDT       Read and reply to various emails                                                0.30               4-2
 MON                                              DAILY TOTALS                                          1.60         0.00

                         Call w/ A. Crnkovich re: interest calc and declaration of further claim
1/9/2024       CDT       rejections.                                                                     0.70               1-2
  TUE                                             DAILY TOTALS                                          0.70         0.00

1/10/2024      CDT       Weekly finance meeting.                                                         0.50               2-1
                         Call w/ A. Crnkovich re: priority claims to settle, security deposits on
1/10/2024      CDT       real estate, next steps w/ ombudsman.                                           0.50               4-2
                         Read and reply to various emails re: rejection motion, interest
                         calculations and buckets of claims, various emails from vendors
1/10/2024      CDT       regarding claims.                                                               0.50               1-2
 WED                                              DAILY TOTALS                                          1.50         0.00

1/11/2024      CDT       Supplier claims meeting.                                                        0.50               4-2
                         Call w/ A. Crnkovich re: talking points for calls on prepaids and
1/11/2024      CDT       certain claims.                                                                 0.30               4-2
                         Review, comment on memo for ombudsman. Send to A. Crnkovich
1/11/2024      CDT       for discussion.                                                                 1.00               4-2
THURS                                             DAILY TOTALS                                          1.80         0.00

1/12/2024      CDT       Call w/ A. Crnkovich re: interest expense calc.                                 0.40               1-2
1/12/2024      CDT       Read and reply to various emails.                                               0.60               4-2


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  FRI                                            DAILY TOTALS                                     1.00         0.00

                                       WEEKLY TOTAL - ( W/E 1/13/24 )                             6.60        0.00

                         Review and edit memo to ombudsman; discussion w/ A. Crnkovich
1/15/2024      CDT       to answer a couple of questions.                                          1.00               4-2
1/15/2024      CDT       Review and comment on cash flow file from E. Hammes                       0.50               1-3
 MON                                             DAILY TOTALS                                     1.50         0.00

                         Discuss Cognizant claim with A. Crnkovich and review subsequent
1/16/2024      CDT       email with detailed information from Cognizant.                           0.30               4-2
1/16/2024      CDT       Read and reply to various emails.                                         0.20               4-2
1/16/2024      CDT       Call w/ Optessa re: their claim.                                          0.50               3-3
  TUE                                            DAILY TOTALS                                     1.00         0.00

1/17/2024      CDT       Read and reply to various emails; review MOR drafts                       0.50               4-2
                         Review omnibus objection to equity claims and declaration; send
1/17/2024      CDT       email to F. He re: comments.                                              1.00               4-2
                         Draft Optessa settlement letter, send to A. Crnkovich for review
1/17/2024      CDT       prior to sending to W&C.                                                  1.00               4-2
 WED                                             DAILY TOTALS                                     2.50         0.00

1/18/2024      CDT       Call w/ Greatech re: their claim.                                         0.30               3-3
1/18/2024      CDT       Read and reply to various emails.                                         0.20               4-2
1/18/2024      CDT       Fee application preparation                                               1.00               4-5
THURS                                            DAILY TOTALS                                     1.50         0.00

                                       WEEKLY TOTAL - ( W/E 1/20/24 )                             6.50        0.00

1/22/2024      CDT       Fee application preparation.                                              0.80               4-5
1/22/2024      CDT       Read and reply to various emails re: claims and prepaids.                 0.20               4-2
 MON                                             DAILY TOTALS                                     1.00         0.00

                         Call w/ A. Crnkovich re: Tiemken, rope in E. Hightower re: same,
1/23/2024      CDT       rope in Tiemken attorney.                                                 0.70               4-2
1/23/2024      CDT       Review cash flow presentation; call w/ E. Hammes to update.               0.80               1-3
 TUES                                            DAILY TOTALS                                     1.50         0.00

1/24/2024      CDT       Supplier claims call                                                      0.80               4-2
1/24/2024      CDT       Call w/ Silverman team re: checklist for plan.                            0.30               4-2
1/24/2024      CDT       Call w/ A. Crnkovich re: specific claims (Tiemkin, ZF, etc.)              0.40               4-2
 WED                                             DAILY TOTALS                                     1.50         0.00

1/25/2024      CDT       Intro call with Ombudsman                                                 1.00               4-2
 THUR                                            DAILY TOTALS                                     1.00         0.00

1/26/2024      CDT       Call w/ M. Leonard re: Optessa                                            0.30               4-2



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                         Call w/ A. Crnkovich and A. Kroll re: Harco claim and
1/26/2024      CDT       overshipments.                                                            0.50               4-2
1/26/2024      CDT       Read and reply to various emails.                                         0.20               4-2
  FRI                                            DAILY TOTALS                                     1.00         0.00

1/27/2024      CDT       Review Optessa assignment letter; reply to various emails.                0.50               4-2
  SAT                                            DAILY TOTALS                                     0.50         0.00

                                       WEEKLY TOTAL - ( W/E 1/27/24 )                             6.50        0.00

                         Review cash flow forecast and send comments to E. Hammes. Read
1/29/2024      CDT       and reply to various emails.                                              0.50               1-3
 MON                                             DAILY TOTALS                                     0.50         0.00

1/30/2024      CDT       Call w/ EC re: waterfall.                                                 0.80               1-2
1/30/2024      CDT       Call w/ Harco re: their claim.                                            0.20               3-3
1/30/2024      CDT       Call w/ A. Crnkovich and E. Hammes re: waterfall.                         0.30               1-2
1/30/2024      CDT       Read and reply to various emails.                                         0.20               4-2
 TUES                                            DAILY TOTALS                                     1.50         0.00

1/31/2024      CDT       Multiple phone calls and email reviews/responses re: claims.              1.00               4-2
 WED                                             DAILY TOTALS                                     1.00         0.00

                                       WEEKLY TOTAL - ( W/E 1/31/24 )                             3.00        0.00


                                      TOTAL - (January 1 to January 31, 2024 )                  26.40         0.00




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                        Discussion with the Silverman team relating to transition and
1/2/2024      SK        handoff of information to the Ombudsman.                                1.00               4-2
1/2/2024      SK        Worked on the transition files and documentation                        1.10               4-2
1/2/2024      SK        Worked on prepayments made prior to the filing of the case.             1.20               4-2
1/2/2024      SK        Administration relating to the case.                                    0.40               4-2
                        Read emails from Management and people associated with the
1/2/2024      SK        case.                                                                   0.20               4-2
TUES                                          DAILY TOTALS                                     3.90         0.00

                        Reviewed emails and attachments from the company, vendors,
1/3/2024      SK        attorneys, and Silverman                                                0.90               4-2
 WED                                          DAILY TOTALS                                     0.90         0.00

                        Supplier claim call the company (Michael P., Amanda, C., and Ed)
1/4/2024      SK        and Silverman                                                           0.50               4-2
1/4/2024      SK        White and Case catch up call with Silverman and the company             0.60               4-2
1/4/2024      SK        Waterfall discussion with Silverman team.                               0.50               1-2
                        Discussion of the prepaid estimated recovery between the
1/4/2024      SK        Silverman team                                                          0.40               4-2
                        Read emails and attachments relating to the case from the
1/4/2024      SK        Attorneys, vendors, Silverman, and the company.                         0.70               4-2
1/4/2024      SK        Administration activities relating to the case.                         0.60               4-2
1/4/2024      SK        Follow up on prepaids and correspondence                                1.10               4-2
1/4/2024      SK        Administrative activities relating to the case.                         0.40               4-2
THURS                                         DAILY TOTALS                                     4.80         0.00


1/5/2024      SK        Discussion with Silverman personnel regarding prepaid recoveries        0.30               4-2
1/5/2024      SK        Worked on prepayments made prior to the filing.                         0.60               4-2
                        Read emails from the management, Silverman relating to the case
1/5/2024      SK        and the attorneys.                                                      0.40               4-2
1/5/2024      SK        Administration activities relating to the case                          0.20               4-2
  FRI                                         DAILY TOTALS                                     1.50         0.00

                                     WEEKLY TOTAL - ( W/E 1/6/24 )                            11.10        0.00

                        Read emails and attachments from the Company, Attorneys, and
1/8/2024      SK        Silverman relating to the case.                                         0.50               4-2
1/8/2024      SK        Administrative activities relating to the case.                         0.40               4-2
 MON                                          DAILY TOTALS                                     0.90         0.00

                        Read emails and attachments from the Company, attorneys, and
1/9/2024      SK        Silverman relating to the case.                                         0.70               4-2
1/9/2024      SK        Administrative activities relating to the case.                         0.20               4-2
1/9/2024      SK        Worked on claims and prepaids relating to the case.                     1.20               4-2
TUES                                          DAILY TOTALS                                     2.10         0.00



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  Date      Consultant                             Description                             Billable    No Charge


                         Read emails and attachments relating to the case from the
1/10/2024      SK        company, attorneys and Silverman                                       0.40               4-2
 WED                                           DAILY TOTALS                                    0.40         0.00

                         Read emails and attachments relating to the case from the
1/11/2024      SK        attorneys, Company, and Silverman.                                     0.80               4-2
THURS                                          DAILY TOTALS                                    0.80         0.00

                         Worked on claims and prepaids made by the company prior to
1/12/2024      SK        filing                                                                 1.20               4-2
  FRI                                          DAILY TOTALS                                    1.20         0.00

                                     WEEKLY TOTAL - ( W/E 1/13/24 )                            5.40        0.00

1/15/2024      SK        Worked on claims against the estate                                    1.20               4-2
1/15/2024      SK        Worked on prepayments made by the estate prior to the filing.          1.50               4-2
1/15/2024      SK        Administrative activities relating to the case                         0.20               4-2
                         Read emails and attachments from the company, attorneys,
1/15/2024      SK        vendors, and/or Silverman relating to the case.                        0.60               4-2
 MON                                           DAILY TOTALS                                    3.50         0.00

1/16/2024      SK        Worked on claims filed by vendors against the estate                   1.40               4-2
                         Worked on prepayments made by the company prior to the filing.
1/16/2024      SK        Reviewed files and correspondence from the vendors                     1.20               4-2
                         Read emails and attachments from the company, attorneys,
1/16/2024      SK        vendors, and/or Silverman related to the case.                         0.50               4-2
1/16/2024      SK        administration related to the case.                                    0.10               4-2
1/16/2024      SK        Worked on Prepaids for the estate.                                     0.70               4-2
                         Read emails and attachments from the company, attorneys,
1/16/2024      SK        vendors, and/or Silverman.                                             0.40               4-2
 TUES                                          DAILY TOTALS                                    4.30         0.00

                         Claims review with the Company (Ed H., Adam K., Michael P.)
1/17/2024      SK        and Silverman.                                                         1.20               4-2
                         Financial management meeting with management (Adam K.
1/17/2024      SK        Michael P., and Jevita) and Silverman (Alex, Scott, and Ellen).        1.10               2-1
1/17/2024      SK        Worked on claims relating to vendors and the KCC filings.              1.50               4-2

1/17/2024      SK        Worked on prepayments made by the company prior to the filing.         0.80               4-2
 WED                                           DAILY TOTALS                                    4.60         0.00

1/18/2024      SK        Worked on claims reconciliation for vendors                            0.90               4-2

1/18/2024      SK        Worked on prepayments made by the company prior to the filing          0.70               4-2
                         Read emails and attachments from the company, vendors,
1/18/2024      SK        attorneys, and/or Silverman relating to the case                       0.70               4-2



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1/18/2024      SK        Vendor call with Sharp and Silverman                                      0.80               4-2
 THUR                                           DAILY TOTALS                                      3.10         0.00

                                     WEEKLY TOTAL - ( W/E 1/20/24 )                              15.50        0.00

1/22/2024      SK        Worked on Pi Innovo prepaid                                               0.70               4-2
                         Finance call with Adam K., Michael Port, and Silverman to discuss
1/22/2024      SK        open items needing to be accomplished for the estate.                     0.80               2-1
                         Read emails and attachments from the company, attorneys,
1/22/2024      SK        vendors, and Silverman relating to the case.                              0.60               4-2
1/22/2024      SK        Worked on prepayments made prior to the filing and claims                 2.10               4-2
 MON                                            DAILY TOTALS                                      4.20         0.00

1/23/2024      SK        Worked on claims with vendors against the estate.                         0.50               4-2
                         Read emails and attachments from the Company, Attorneys,
1/23/2024      SK        vendors, and Silverman related to the case.                               0.60               4-2
1/23/2024      SK        Administrative activities relating to the case.                           0.50               4-2
                         Worked on claims and Prepayments made by the company prior to
1/23/2024      SK        filing.                                                                   1.00               4-2
1/23/2024      SK        Worked on vendor claims.                                                  0.70               4-2
  TUE                                           DAILY TOTALS                                      3.30         0.00

                         Claims call with management (Ed, Adam, M Port, Melissa) and
1/24/2024      SK        Silverman                                                                 1.00               4-2

1/24/2024      SK        Discussion with Silverman staff relating to the W&C catch up call.        0.20               4-2
1/24/2024      SK        Finance call with Adam K., M. Port, and Silverman team                    0.80               2-1
                         Read emails and attachments from the Company, Vendors,
1/24/2024      SK        Attorneys, and Silverman relating to the case.                            0.70               4-2
                         Worked on prepayments made by the company prior to filing and
1/24/2024      SK        claims.                                                                   1.30               4-2
1/24/2024      SK        Administrative activities relating to the case.                           0.30               4-2
 WED                                            DAILY TOTALS                                      4.30         0.00

                         Read emails and attachments from the Company, Vendors, and
1/25/2024      SK        Silverman relating to the case.                                           0.60               4-2
 THUR                                           DAILY TOTALS                                      0.60         0.00

                         Read emails and attachments from Company, attorneys, vendors,
1/26/2024      SK        and Silverman relating to the case.                                       0.60               4-2
1/26/2024      SK        Administrative activities relating to the case.                           0.30               4-2
  FRI                                           DAILY TOTALS                                      0.90         0.00

                                     WEEKLY TOTAL - ( W/E 1/27/24 )                              13.30        0.00

                         Read emails and attachments from Management, attorneys,
1/29/2024      SK        vendors, and Silverman related to the case.                               0.90               4-2



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1/29/2024      SK        Finance call with Adam K., Michael P. and Silverman.                   0.80               2-1
1/29/2024      SK        Administration relating to the case,.                                  0.40               4-2
 MON                                           DAILY TOTALS                                    2.10         0.00


1/30/2024      SK        Reviewed the cash flow for Lordstown and remainder of the case.        0.70               1-3
 TUES                                          DAILY TOTALS                                    0.70         0.00

                         Claims call with Management (Ed H., Adam K., Melissa, and
1/31/2024      SK        Michael P.) and Silverman                                              0.60               4-2
1/31/2024      SK        Call with ZF, Melissa L. (Lordstown,), and Alex (Silverman).           0.40               4-2
                         W&C (Fan) catch up call with Management (Adam K. , Melissa L.,
1/31/2024      SK        and Michael P.) and Silverman.                                         0.50               4-2
 WED                                           DAILY TOTALS                                    1.50         0.00

                                     WEEKLY TOTAL - ( W/E 1/31/24 )                            4.30        0.00

                                    TOTAL - (January 1 to January 31, 2024 )                 49.60         0.00




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1/2/2024      EH        Internal call to review docs for ombudsman                                  1.00               4-2
1/2/2024      EH        Cash forecast                                                               4.00               1-3
1/2/2024      EH        Administrative activities relating to the bankruptcy                        0.50               4-2
1/2/2024      EH        Updating the waterfall                                                      2.30               1-3
                        reading & responding to various emails related to Lordstown
1/2/2024      EH        bankruptcy                                                                  0.70               4-2
 TUE                                           DAILY TOTALS                                        8.50         0.00

1/3/2024      EH        Cash forecast                                                               1.50               1-3
1/3/2024      EH        bankruptcy professional fees                                                3.70               1-3
1/3/2024      EH        call with D. Tsitsis and A Crnkovich to discuss claims accrual              0.50               4-2
1/3/2024      EH        cash forecast and waterfall                                                 3.60               1-3
1/3/2024      EH        Administrative activities relating to the bankruptcy                        0.50               4-2
 WED                                           DAILY TOTALS                                        9.80         0.00

1/4/2024      EH        supplier claims call                                                        0.50               4-2
1/4/2024      EH        Cash forecast updates based on comments                                     2.10               1-3
1/4/2024      EH        W&C update call                                                             0.20               4-2
                        Call with A. Crnkovich and M Port to discuss waterfall and EE
1/4/2024      EH        severance                                                                   0.50               1-3
                        call w/ D Tsitsis and A Crnkovich to discuss the waterfall and
1/4/2024      EH        prepaids                                                                    0.80               1-3
1/4/2024      EH        Updating cash forecast for the week                                         2.00               1-3
1/4/2024      EH        Administrative activities relating to the bankruptcy                        0.50               4-2
1/4/2024      EH        Updating the waterfall/unsecured claims reserve                             1.00               1-3
                        reading & responding to various emails related to Lordstown
1/4/2024      EH        bankruptcy                                                                  0.40               4-2
THURS                                          DAILY TOTALS                                        8.00         0.00

1/5/2024      EH        Fee Application                                                             0.50               4-5
1/5/2024      EH        waterfall calculation updates                                               5.80               1-3
                        reading & responding to various emails related to Lordstown
1/5/2024      EH        bankruptcy                                                                  0.90               4-2
1/5/2024      EH        Administrative activities relating to the bankruptcy                        0.20               4-2
  FRI                                          DAILY TOTALS                                        7.40         0.00

                                     WEEKLY TOTAL - ( W/E 1/6/24 )                               33.70         0.00

1/8/2024      EH        Supplier Claim call                                                         0.50               4-2
1/8/2024      EH        W&C update call                                                             0.20               4-2
1/8/2024      EH        Fee Application                                                             1.10               4-5
1/8/2024      EH        Weekly finance call                                                         1.30               2-1
                        Call with A. Kroll re: cash forecast and waterfall for the extension
1/8/2024      EH        of confirmation date                                                        0.90               1-3
                        Claims reconciliation process and other claims call with D Tsitsis
1/8/2024      EH        and A Crnkovich                                                             0.50               4-2
1/8/2024      EH        cash forecast                                                               3.50               1-3


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1/8/2024       EH        Administrative activities relating to the bankruptcy                    0.20               4-2
                         reading & responding to various emails related to Lordstown
1/8/2024       EH        bankruptcy                                                              0.30               4-2
 MON                                           DAILY TOTALS                                     8.50         0.00

1/9/2024       EH        Call w/ A. Kroll, A Crnkovich, D Ninivaggi                              1.50               2-1
1/9/2024       EH        Update waterfall for UCC call                                           1.30               1-3
1/9/2024       EH        call with Huron                                                         0.80               3-2
1/9/2024       EH        waterfall                                                               1.40               1-3
1/9/2024       EH        Call w/ A Kroll to discuss claims rec for waterfall                     0.70               1-3
1/9/2024       EH        Send waterfall and cash forecast to the committees                      0.50               1-3
                         reading & responding to various emails related to Lordstown
1/9/2024       EH        bankruptcy                                                              0.90               4-2
1/9/2024       EH        Administrative activities relating to the bankruptcy                    0.70               4-2
  TUE                                          DAILY TOTALS                                     7.80         0.00

1/10/2024      EH        cash forecast and professional fee payments                             2.00               1-3
1/10/2024      EH        Weekly finance meeting                                                  1.00               2-1
1/10/2024      EH        respond to M3's requests re: waterfall and claims                       1.60               1-3
1/10/2024      EH        Waterfall updates & claims reconciliation                               1.20               1-3
1/10/2024      EH        Answering Huron's questions re: cash forecast                           0.20               1-3
1/10/2024      EH        Administrative activities relating to the bankruptcy                    0.60               4-2
                         reading & responding to various emails related to Lordstown
1/10/2024      EH        bankruptcy                                                              0.40               4-2
 WED                                           DAILY TOTALS                                     7.00         0.00

1/11/2024      EH        Call with M3 to discuss interest calc in waterfall                      0.50               1-3
1/11/2024      EH        December Fee application                                                3.50               4-5
1/11/2024      EH        Administrative activities relating to the bankruptcy                    0.40               4-2
                         reading & responding to various emails related to Lordstown
1/11/2024      EH        bankruptcy                                                              0.60               4-2
1/11/2024      EH        December Fee application                                                0.80               4-5
THURS                                          DAILY TOTALS                                     5.80         0.00

1/12/2024      EH        Administrative activities relating to the bankruptcy                    0.60               4-2
                         reading & responding to various emails related to Lordstown
1/12/2024      EH        bankruptcy                                                              0.70               4-2
  FRI                                          DAILY TOTALS                                     1.30         0.00

                                     WEEKLY TOTAL - ( W/E 1/13/24 )                           30.40         0.00

                         Gather Dec MOR files (disbursements, receipts, payroll and bank
1/15/2024      EH        statements)                                                             1.50               4-3
1/15/2024      EH        Prepaids call w/ A. Crnkovich & S Kohler                                0.70               4-2
1/15/2024      EH        Update cash forecast for the wk ending 1/20                             3.80               1-3
                         reading & responding to various emails related to Lordstown
1/15/2024      EH        bankruptcy                                                              0.30               4-2



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  Date      Consultant                            Description                               Billable    No Charge

 MON                                           DAILY TOTALS                                     6.30         0.00

1/16/2024      EH        December Fee application                                                6.00               4-5
1/16/2024      EH        Updating the waterfall/unsecured claims reserve                         2.00               1-3
                         reading & responding to various emails related to Lordstown
1/16/2024      EH        bankruptcy                                                              0.20               4-2
1/16/2024      EH        Administrative activities relating to the bankruptcy                    0.40               4-2
 TUES                                          DAILY TOTALS                                     8.60         0.00

1/17/2024      EH        Supplier claims weekly review                                           1.00               4-2
1/17/2024      EH        Cash forecast - update payroll                                          0.40               1-3
1/17/2024      EH        W&C update call                                                         0.20               4-2
1/17/2024      EH        Weekly finance call                                                     1.00               2-1
1/17/2024      EH        Prepaids - KB Components follow up                                      0.40               4-2
1/17/2024      EH        Updating the waterfall/unsecured claims reserve                         1.50               1-3
1/17/2024      EH        Cash forecast updates                                                   2.00               1-3
                         reading & responding to various emails related to Lordstown
1/17/2024      EH        bankruptcy                                                              0.50               4-2
1/17/2024      EH        Administrative activities relating to the bankruptcy                    0.50               4-2
 WED                                           DAILY TOTALS                                     7.50         0.00

                         reading & responding to various emails related to Lordstown
1/18/2024      EH        bankruptcy                                                              0.80               4-2
1/18/2024      EH        Administrative activities relating to the bankruptcy                    0.10               4-2
1/18/2024      EH        Cash forecast and professional fees                                     1.00               1-3
1/18/2024      EH        Professional fee estimates update                                       1.00               1-3
1/18/2024      EH        Updating the waterfall/unsecured claims reserve                         2.00               1-3
 THUR                                          DAILY TOTALS                                     4.90         0.00

                                     WEEKLY TOTAL - ( W/E 1/20/24 )                           27.30         0.00

1/22/2024      EH        Weekly Finance Meeting                                                  0.50               2-1
1/22/2024      EH        Cash forecast                                                           3.50               1-3
 MON                                           DAILY TOTALS                                     4.00         0.00

1/23/2024      EH        Cash forecast updates                                                   4.00               1-3
1/23/2024      EH        Update waterfall analysis based on White & Case comments                1.00               1-3
                         reading & responding to various emails related to Lordstown
1/23/2024      EH        bankruptcy                                                              0.50               4-2
1/23/2024      EH        Administrative activities relating to the bankruptcy                    0.50               4-2
  TUE                                          DAILY TOTALS                                     6.00         0.00

1/24/2024      EH        supplier claims call                                                    1.00               4-2
1/24/2024      EH        update waterfall                                                        0.70               1-3
1/24/2024      EH        White & Case update call                                                0.80               4-2
1/24/2024      EH        Weekly finance call                                                     0.70               2-1
1/24/2024      EH        update waterfall based on AK comments                                   2.80               1-3



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  Date      Consultant                             Description                                 Billable    No Charge

1/24/2024      EH        Internal Silverman call to discuss plan confirmation checklist             0.50               4-2
1/24/2024      EH        call with A. Kroll re: waterfall                                           0.30               1-3
 WED                                            DAILY TOTALS                                       6.80         0.00

1/25/2024      EH        Call with Ombudsman                                                        1.00               4-2
1/25/2024      EH        Administrative activities relating to the bankruptcy                       0.70               4-2
                         reading & responding to various emails related to Lordstown
1/25/2024      EH        bankruptcy                                                                 0.40               4-2
 THUR                                           DAILY TOTALS                                       2.10         0.00

1/26/2024      EH        Call with Alex to discuss updated waterfall                                0.20               1-3
  FRI                                           DAILY TOTALS                                       0.20         0.00

                                     WEEKLY TOTAL - ( W/E 1/27/24 )                               19.10        0.00

1/29/2024      EH        Weekly finance call                                                        0.60               2-1
1/29/2024      EH        Cash forecast                                                              4.20               1-3
1/29/2024      EH        Updating the waterfall/unsecured claims reserve                            2.00               1-3
 MON                                            DAILY TOTALS                                       6.80         0.00




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  Date      Consultant                            Description                               Billable    No Charge


1/30/2024      EH        Waterfall discussion w/ M3                                              1.60               1-3
1/30/2024      EH        Updating claims waterfall                                               1.50               1-3
1/30/2024      EH        cash forecast                                                           2.00               1-3
1/30/2024      EH        Administrative activities relating to the bankruptcy                    0.20               4-2
                         reading & responding to various emails related to Lordstown
1/30/2024      EH        bankruptcy                                                              0.40               4-2
 TUES                                          DAILY TOTALS                                     5.70         0.00

1/31/2024      EH        waterfall updates                                                       0.30               1-3
                         reading & responding to various emails related to Lordstown
1/31/2024      EH        bankruptcy                                                              0.50               4-2
1/31/2024      EH        Administrative activities relating to the bankruptcy                    0.70               4-2
 WED                                           DAILY TOTALS                                     1.50         0.00

                                     WEEKLY TOTAL - ( W/E 1/31/24 )                            14.00        0.00

                                    TOTAL - (January 1 to January 31, 2024 )                 124.50         0.00




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  Date       Consultant                        Description                        Time


1/2/2024        SAN       December MOR                                                 0.90   4-3
 TUES                                       DAILY TOTALS                              0.90

1/3/2024        SAN       December MOR                                                 0.50   4-3
 WED                                        DAILY TOTALS                              0.50

                                   WEEKLY TOTAL - ( W/E 1/6/24 )                      1.40

1/15/2024       SAN       December MOR                                                 0.90   4-3
 MON                                        DAILY TOTALS                              0.90

1/16/2024       SAN       December MOR                                                 5.70   4-3
 TUES                                       DAILY TOTALS                              5.70

1/17/2024       SAN       December MOR                                                 0.20   4-3
 WED                                        DAILY TOTALS                              0.20

                                   WEEKLY TOTAL - ( W/E 1/20/24 )                     6.80


                                  TOTAL - (January 1 to January 31, 2024 )            8.20
